[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION RE: DEFENDANT'S MOTION TO DISMISS APPEAL (#115)
The defendant's motion to dismiss is denied. "A motion to dismiss . . . properly attacks the jurisdiction of the court, essentially asserting that the plaintiff cannot as a matter of law and fact state a cause of action that should be heard by the court." (Emphasis in original; internal quotation marks omitted.)Gurliacci v. Mayer, 218 Conn. 531, 544, 590 A.2d 914 (1991). The plaintiff has apparently brought its appeal to this court from the Darien Board of Tax Review in a timely manner, as per General Statutes § 12-117a. Therefore, this court does not lack subject matter jurisdiction. The timeliness of the plaintiff's previous appeal from the actions of the assessor to the Board under General Statutes §§ 12-111 and 12-112, and the presence or absence of special circumstances involve the merits of this case. As such, these issues are not properly decided on a motion to dismiss.
NADEAU, J.